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 8                          UNITED STATES DISTRICT COURT
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                                  EASTERN DISTRICT OF CALIFORNIA
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11                                                     1:23-cv-00920-BAM (PC)
     MARIO R. RODAS PORTILLO,
12
                     Plaintiff,                        ORDER REQUIRING PLAINTIFF TO FILE
13                                                     COMPLETED APPLICATION TO
            v.                                         PROCEED IN FORMA PAUPERIS OR
14                                                     PAY FILING FEE WITHIN THIRTY
                                                       DAYS
15   CITY OF SHAFTER, et al.,

16                   Defendants.

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19          Plaintiff Mario R. Rodas Portillo, an inmate at the Lerdo Justice Facility proceeding pro

20   se, filed this civil rights action on June 20, 2023, along with an application to proceed in forma

21   pauperis. (Docs. 1, 2.) However, Plaintiff’s form application to proceed in forma pauperis is

22   not complete. Plaintiff’s application does not contain a certification from the institution of

23   incarceration detailing Plaintiff’s account information, nor does it include a trust account

24   statement. (Doc. 2.)

25          Accordingly, IT IS HEREBY ORDERED that:

26          1.      Within thirty (30) days from the date of service of this order, Plaintiff shall file

27   the attached application to proceed in forma pauperis, completed and signed, or in the

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 1   alternative, pay the $402.00 filing fee for this action. Plaintiff’s application should include the

 2   required certification and/or trust account statement;

 3          2.      No extension of time will be granted without a showing of good cause; and

 4          3.      The failure to comply with this order will result in dismissal of this action,

 5   without prejudice.

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 7   IT IS SO ORDERED.

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        Dated:     June 21, 2023                               /s/ Barbara    A. McAuliffe             _
 9                                                       UNITED STATES MAGISTRATE JUDGE
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